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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE

NANCY FERRELL DAVIDSON                       )
                                             )
                      Plaintiff              )
                                             )
vs.                                          )      Case No. 3:19-cv-309-CHB
                                             )
LOUISVILLE METROPOLITAN                      )
GOVERNMENT                                   )
                                             )
                      Defendant              )

                                  ** ** ** ** ** ** ** **

                          NOTICE OF SERVICE OF DISCOVERY

       Comes the Defendant, Louisville Metropolitan Government, by counsel, and hereby

gives notice that the following was served upon counsel of record this the 1st day of May, 2020:

       1)      Answers and Responses of Defendant, Louisville Metropolitan Government, to

Plaintiff’s First Set of Interrogatories and Requests for Production of Documents.

                                             Respectfully submitted,

                                             PHILLIPS PARKER ORBERSON & ARNETT

                                             /S/ TERA M. REHMEL
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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and accurate copy of the foregoing was filed with the Clerk of
Court via the CM/ECF system on this the 1st day of May 2020, which will send a notice of
electronic filing to the following counsel of record:

Timothy Denison, Esq.
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timothydenison@aol.com
Counsel for Plaintiff, Nancy Ferrell Davidson


                                             /S/ TERA M. REHMEL
                                             Counsel for Defendant Louisville Metropolitan
                                             Government




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